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                                UNITED STATES BANKRUPTCY COURT
                                     DISTRICT OF NEW JERSEY

 In re:                                                        Chapter 11
 BLOCKFI INC., et al.,
                                                               Case No. 22-19361 (MBK)
                                      Debtors.1
                                                               (Jointly Administered)

                 DEBTORS’ RESPONSE AND OBJECTION TO MOTION AND
             MEMORANDUM OF LAW IN SUPPORT OF MOTION OF GEORGE J.
            GERRO FOR ENTRY OF AN ORDER (I) GRANTING PARTIAL RELIEF
                 FROM THE AUTOMATIC STAY (11 U.S.C. §§ 362(d)(1)) AND
              DISCHARGE INJUNCTION (11 U.S.C. § 524(a)) WITH RESPECT TO
             CERTAIN NON-CORE PROCEEDINGS; AND (II) EXTENDING TIME
                    TO FILE A PROOF OF CLAIM (F.R.B.P. 3002(c)(3))

 TO: THE HONORABLE CHIEF JUDGE MICHAEL B. KAPLAN
 UNITED STATES BANKRUPTCY COURT FOR THE DISTRICT OF NEW JERSEY




 1
            The Debtors in these Chapter 11 cases, along with the last four digits of each Debtor’s federal tax
            identification number, are: BlockFi Inc. (0015); BlockFi Trading LLC (2487); BlockFi Lending LLC (5017);
            BlockFi Wallet LLC (3231); BlockFi Ventures LLC (9937); BlockFi International Ltd. (N/A); BlockFi
            Investment Products LLC (2422); BlockFi Services, Inc. (5965) and BlockFi Lending II LLC (0154). The
            location of the Debtors’ service address is 201 Montgomery Street, Suite 263, Jersey City, NJ 07302.


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         BlockFi Inc. and its debtor affiliates (collectively, “BlockFi” or the “Debtors”), as debtors

 and debtors-in-possession in the above-referenced Chapter 11 cases (the “Chapter 11 Cases”),

 hereby file this Debtors’ Response and Objection to Motion and Memorandum of Law in Support

 of Motion of George J. Gerro for Entry of an Order (I) Granting Partial Relief from the Automatic

 Stay (11 U.S.C. §§ 362(d)(1)) and Discharge Injunction (11 U.S.C. § 524(a)) With Respect to

 Certain Non-core Proceedings; and (II) Extending Time to File a Proof of Claim (F.R.B.P.

 3002(c)(3)) (the “Objection”) in response to movant George Gerro’s (“Gerro”) Motion and

 Memorandum of Law in Support of Motion of George J. Gerro for Entry of an Order (I) Granting

 Partial Relief from the Automatic Stay (11 U.S.C. §§ 362(d)(1)) and Discharge Injunction (11

 U.S.C. § 524(a)) With Respect to Certain Non-core Proceedings; and (II) Extending Time to File

 a Proof of Claim (F.R.B.P. 3002(c)(3)) (the “Lift Stay Motion”). In support of the Objection, the

 Debtors respectfully represent as follows:

                                            Preliminary Statement2

         1.       Movant, George Gerro, is unable to demonstrate that cause exists to lift the

 automatic stay and Gerro’s request for relief from the discharge injunction is both unsupported

 and premature. However, before addressing the complexities and tortured process surrounding the

 Debtors’ years-long litigation with Gerro, it is important to discuss the relatively simple and

 straightforward transaction that led to Gerro’s suit in the first instance. As is discussed in greater

 detail below, Gerro, a lawyer who has proceeded pro se in his litigation against BF Lending, has

 to date brought three separate suits against BF Lending during the past two and a half years. While

 Gerro has proceeded pro se, BF Lending has incurred millions of dollars in legal fees and expenses



 2
   Capitalized terms not otherwise defined in the Preliminary Statement shall have the meaning ascribed to such
 terms elsewhere in the Lift Stay Motion.



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 in connection with Gerro’s lawsuits. Gerro seeks stay relief with respect to only the first suit,

 “Gerro I.”

              A. Loan Agreement with Gerro

        2.       In February 2020, Gerro obtained an approximately $2.275 million Loan from

 Debtor BF Lending collateralized by bitcoin pledged by Gerro and posted as security for the Loan.

 The Loan Agreement required Gerro to maintain a certain loan-to-value ratio (LTV) and permitted

 BlockFi to liquidate Gerro’s bitcoin collateral and pay down the Loan if Gerro failed to maintain

 the required LTV. In March 2020, the value of bitcoin dropped, and the LTV fell below the

 required threshold. After multiple unheeded alerts and requests from BF Lending to Gerro to

 resolve the LTV imbalance, BF Lending liquidated a majority of Gerro’s bitcoin collateral and

 paid down a majority of the Loan in accordance with the terms of the Loan Agreement. At Gerro’s

 subsequent request, BF Lending paid off the remaining Loan amount through a further liquidation

 of the bitcoin collateral and returned the remaining bitcoin to Gerro.

        3.       Over the next few weeks, the parties discussed the possibility of reinstating the

 loan, but no agreement was reached. Meanwhile, in the month after the liquidation of Gerro’s

 bitcoin, the price of bitcoin increased. Apparently disappointed that he would not personally

 benefit from this increase due to the prior liquidation, Gerro—more than a month and a half after

 the liquidation, and more than a month after he had last communicated with BF Lending—sought

 to “reverse” the sales of bitcoin. BF Lending immediately explained that it could not reverse the

 liquidation, particularly given that it was more than a month and a half since the liquidation and

 that the value of bitcoin was much higher than at the time when Gerro’s bitcoin was liquidated.

 BF Lending therefore refused Gerro’s request, as it had complied with its contractual obligations




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 to Gerro, had properly exercised its rights under the Loan Agreement, and was under no obligation

 to reverse the liquidation and loan payoff.

          4.       When BF Lending did not agree to reverse the loan payoff, Gerro commenced a

 suit in the California Trial Court asserting claims for breach of contract, California Commercial

 Code violations, and similar claims against BF Lending and its retail loan servicer, Scratch

 Services.

          5.       Soon after Gerro I was commenced, BF Lending, relying on a Delaware forum

 selection clause in the Loan Agreement, filed a motion to stay the suit on the ground of forum non

 conveniens. The California Trial Court granted BF Lending’s motion and Gerro appealed. The

 California Court of Appeals reversed the trial court, and BF Lending and Scratch petitioned the

 California Supreme Court for review.3 The California Supreme Court granted the petition. At its

 essence, the issue on appeal is whether Gerro should pursue his possible claims against BF Lending

 in California or in Delaware.

               B. The Lift Stay Motion Should Be Denied

          6.       Gerro cannot meet his high burden to establish cause to lift the automatic stay

 (much less cause to grant an exception to the discharge injunction). Contrary to Gerro’s assertions,

 Gerro is a general unsecured creditor in these Chapter 11 Cases and any claims Gerro holds against

 the Debtors are core claims, albeit disputed, contingent, and unliquidated, and therefore subject to

 bankruptcy court jurisdiction. As such, the filing of the Chapter 11 petitions has decreased the

 importance to BF Lending and its creditors of the issues on appeal in Gerro I—i.e., whether




 3
  As is detailed below, for purposes of appeal the Court of Appeal consolidated Gerro I and the second lawsuit filed
 by Gerro against BF Lending (Gerro II), a litigation that the trial Court and Court of Appeal held was duplicative of
 Gerro I. For simplicity, this brief primarily refers to Gerro I despite this consolidation.



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 California or Delaware is the proper forum.4 Gerro’s claims can be effectively and efficiently

 adjudicated and administered through the bankruptcy claims administration process along with the

 thousands of other claims by the Debtors’ general unsecured creditors. Indeed, the procedural

 posture of Gerro I, weighs heavily against lifting the automatic stay. It would be substantially more

 efficient, timely, and cost-effective for Gerro’s claims to be adjudicated by the Bankruptcy Court.

 Even if the stay is lifted, it will likely be months or even years before the appeal in Gerro I is heard

 and decided. Upon receipt of the California Supreme Court’s decision, the suit would either be

 sent back to the California Trial Court or Gerro would need to initiate a lawsuit in Delaware, either

 of which could require additional years as the litigation was only in its early stages when the

 California Trial Court first ruled that venue in California was improper.

         7.       As more fully discussed below, virtually none of the applicable factors support stay

 relief here. Moreover, Gerro’s request for an exception to the discharge injunction is not only

 unsupported, but it is also premature. Gerro’s Lift Stay Motion must therefore be denied.

                                             Relevant Background

         8.       Prior to the Petition Date, Debtor BlockFi Lending, LLC (“BF Lending”) was a

 finance lender licensed in the State of California. As a lender, BF Lending made loans to customers

 secured by cryptocurrency, such as bitcoin, which customers pledged as collateral for such loans.

         9.       In February 2020, Gerro and BF Lending entered into a loan agreement (the “Loan

 Agreement”) pursuant to which Gerro borrowed approximately $2.275 million (the “Loan”) from

 BF Lending and transferred approximately 441 bitcoin to BF Lending as security (the

 “Collateral”). Pursuant to the terms of the Loan Agreement, Gerro was required to maintain a

 specified loan-to-value ratio (the “LTV”) between the amount of the Loan and the value of the


 4
   BF Lending takes no position on whether the issues on appeal in Gerro I remain of importance to other parties to
 that case or to Gerro’s claims against them.


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 Collateral pledged to secure the Loan. The Loan Agreement provided that the value of the

 Collateral, for purposes of calculating the required LTV, was determined by the trading value of

 the Collateral. Under the terms and conditions of the Loan Agreement, if Gerro failed to maintain

 the required LTV, BF Lending was authorized to liquidate the Collateral pledged by Gerro to

 satisfy some or all of the outstanding amount of the Loan.

        10.     In March 2020, the value of bitcoin dropped. BF Lending contacted Gerro multiple

 times to inform him that, due to the drop in value of bitcoin, Gerro’s Loan was out of compliance

 with the LTV requirements. BF Lending also informed Gerro that if he failed to post additional

 collateral, BF Lending would exercise its rights under the Loan Agreement and liquidate Collateral

 to pay down the Loan.

        11.     Gerro failed to post additional collateral or otherwise address his failure to comply

 with the LTV requirements under the Loan Agreement. As a result, BF Lending exercised its right

 to liquidate the pledged Collateral and used the proceeds to pay down a majority of the Loan

 balance. Rather than take issue with the liquidation, Gerro thanked BF Lending for the update,

 asked that BF Lending disregard “any previous request for a return of remaining collateral,” and

 stated: “I appreciate that I have an opportunity to remain a client of Blockfi.” After additional

 correspondence between BF Lending and Gerro, Gerro requested that BF Lending pay off the

 remainder of the Loan by liquidating additional Collateral. In response to Gerro’s request, BF

 Lending liquidated enough Collateral to pay down the remainder of the Loan and transferred the

 remaining Collateral to Gerro.

        12.     Over the succeeding weeks, BF Lending and Gerro discussed the possibility of

 “reversing” the liquidation of Collateral and reinstating the Loan. However, no agreement was

 ever reached by the parties and the parties ceased discussions. In the meantime, the trading value




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 of bitcoin rebounded. In turn, more than a month after Gerro had last communicated with BlockFi

 at all, Gerro emailed BF Lending in an attempt to “reverse” the liquidation of the Collateral. BF

 Lending refused Gerro’s request, as BF Lending was under no obligation to agree to a reversal and

 reinstatement, it had been more than a month since the parties had even corresponded, and a

 reversal would have resulted in a loss of over $1 million to BF Lending.

         13.     Soon thereafter, acting pro se, Gerro filed a lawsuit in the Los Angeles Superior

 Court (the “Gerro I Trial Court” or “California Trial Court”) against BF Lending for breach of

 contract, California Commercial Code violations, negligence, conversion, trespass to chattels,

 quantum valebant, and even claims that BF Lending somehow violated California pawnbroker

 laws (“Gerro I”). In the same suit, Gerro asserted similar claims against Scratch Services, BF

 Lending’s loan servicer.

         14.     The Loan Agreement contains a forum selection clause requiring that any litigation

 brought in connection with the Loan Agreement be brought in an applicable Delaware court (the

 “Forum Selection Clause”). Citing the Forum Selection Clause, BF Lending filed a motion to stay

 Gerro I on the ground of forum non conveniens (the “FNC Motion”). The Gerro I Trial Court

 granted the FNC Motion and entered an order staying Gerro I (the “California Stay Order”). Gerro

 thereafter filed an appeal of the California Stay Order (the “Gerro I Appeal”) before the California

 Court of Appeal (the “California Appeals Court”).

         15.     Rather than simply proceed with his appeal in Gerro I, and immediately after filing

 the Gerro I Appeal, Gerro commenced a second action (“Gerro II”) in a California Superior Court

 raising nearly identical claims to the claims raised in Gerro I, but this time seeking injunctive relief

 under Section 17200 of the California Business and Professions Code. In light of the substantial

 overlap between the issues raised in Gerro I and Gerro II, BF Lending filed a motion for a stay in




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 abeyance pending a decision in Gerro I. The trial court granted that motion. Gerro is not seeking

 stay relief with respect to Gerro II through his Lift Stay Motion.

         16.     Not to be deterred, Gerro (continuing to act pro se) filed a third action, this time a

 petition for writ of mandate to revoke BF Lending’s lending license in California (“Gerro III”)

 with BF Lending as a real party in interest and the Commissioner of the California Department of

 Financial Protection and Innovation (the “DFPI”) as the respondent. BF Lending filed a demurrer

 as to Gerro’s first amended writ petition, and the trial court sustained the demurrer. Gerro thereafter

 sought and was granted leave to amend. In response Gerro filed a complaint for declaratory relief,

 and that complaint and corresponding demurrers resulted in Gerro III being split into two separate

 cases. The demurrers from BlockFi and the DFPI in their respective cases were ultimately

 sustained, and both Gerro III cases were dismissed. Gerro has appealed those dismissals. He is not

 seeking stay relief with respect to Gerro III through his Lift Stay Motion.

         17.     On June 14, 2022, after consolidation of Gerro I and Gerro II for purposes of

 appeal, the California Appeals Court reversed the Gerro I Trial Court’s entry of the California

 Stay Order in Gerro I while affirming the stay in abeyance in Gerro II (the “California Appeals

 Court Decision”). BF Lending thereafter petitioned the California Supreme Court to review the

 California Appeals Court Decision, and the California Supreme Court granted that petition, stating

 that the issue under consideration was “whether the Court of Appeal correctly [held] that this action

 must remain in California despite the contractual forum selection clause?” 5 Gerro I and Gerro II

 (as noted, consolidated for purposes of appeal) were on appeal to the California Supreme Court on

 the Petition Date. Briefing of the issues on appeal has been partially completed, but proceedings


 5
    See Docket Entry for 09/14/2022 of the Gerro I California Supreme Court Docket accessible at:
 https://appellatecases.courtinfo.ca.gov/search/case/dockets.cfm?dist=0&doc_id=2387411&doc_no=S275530&reque
 st_token=OCIwLSEmPkw2WyBdSCM9SENIUEg0UDxTJCNOUzlTPDtLCg%3D%3D



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 have now been stayed by the filing of the Chapter 11 Cases. If the stay is lifted to allow the Gerro

 I appeal to move forward, based on the California Supreme Court’s current docket, the Debtors

 estimate that the California Supreme Court will issue a ruling in Gerro I in approximately 24

 months.6

                                      Objection and Basis Therefor

               A. Gerro’s Request for Stay Relief Must Be Denied

         18.      Section 362(a) of the Bankruptcy Code provides that the filing of a petition for

 relief operates as a stay of:

         (1) the commencement or continuation, including the issuance or employment of process,
         of a judicial, administrative, or other action or proceeding against the debtor that was or
         could have been commenced before the commencement of the case under this title, or to
         recover a claim against the debtor that arose before the commencement of the case under
         this title;

         …

         (3) any act to obtain possession of property of the estate or of property from the estate or
         to exercise control over property of the estate[.]

 11 U.S.C. § 362(a).

         19.      The scope of the automatic stay is broad and stays all proceedings against the

 debtors or relating to property of the estate. In re Gardner, 2016 Bankr. LEXIS 1059, **8, 12

 (Bankr. D. N.J. Mar. 31, 2016). While Section 362(a) stays a broad range of actions against a

 debtor, relief from the automatic stay may be granted for “cause.” See 11 U.S.C. § 362(f). A

 movant for stay relief has the initial burden of establishing that cause exists to lift the stay. See,

 e.g., In re Score Board, Inc., 238 B.R. 585, 593 (D. N.J. 1999). Courts are typically reluctant to

 lift the stay to allow general unsecured creditors to pursue litigation outside the bankruptcy claims


 6
  See, e.g., the following sources describing ruling times by the California Supreme Court.
 https://www.sfbar.org/wp-content/uploads/2021/03/ca-supreme-court.pdf; https://www.atthelectern.com/how-long-
 does-it-take-the-california-supreme-court-to-decide-a-case-on-the-merits/;
 https://www.californiasupremecourtreview.com/2018/04/how-long-do-civil-cases-take-to-argument-and-decision/.


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 administration process absent “extraordinary circumstances.” See In re Eagle Enterprises, Inc.,

 265 B.R. 671, 680 (E.D. Pa. 2001) (“Generally, unsecured creditors are entitled to relief from an

 automatic stay only in extraordinary circumstances.”). As one court noted:

         If the movant is an unsecured creditor, the policies of the automatic stay weigh
         against granting the relief requested. ‘[T]he general rule is that claims that are not
         viewed as secured in the context of § 362(d)(1) should not be granted relief from
         the stay unless extraordinary circumstances are established to justify such relief.’”

 In re Res. Cap., LLC, 2012 Bankr. LEXIS 3641, at *16 (Bankr. S.D.N.Y. Aug. 8, 2012) (quoting

 In re Leibowitz, 147 B.R. 341, 345 (Bankr. S.D.N.Y. 1992)).

         20.     Cause is not defined in the Bankruptcy Code and has been interpreted by courts as

 a broad and flexible concept determined based on “the totality of the circumstances in each

 particular case.” Maintainco, Inc. v. Mitsubishi Caterpillar Forklift Am., Inc. (In re Mid-Atlantic

 Handling Sys., LLC), 304 B.R. 111, 129-30 (Bankr. D. N.J. 2003) (quoting In re Wilson, 116 F.3d

 87, 90 (3d Cir. 1997)). Courts have applied a variety of tests and considered a wide range of factors

 to assist in deciding whether cause exists to lift the stay.

                     a. Three-Part Balancing Test

         21.     One test that has been applied by courts within the Third Circuit is a three-part

 balancing test comprised of the following considerations:

         (1) [whether] [a]ny ‘great prejudice’ to either the bankrupt estate or the debtor will
         result from continuation of a civil suit; (2) [whether] the hardship to the [non-
         bankrupt party] by maintenance of the stay considerably outweighs the hardship of
         the debtor; and (3) [whether] the creditor has a probability of prevailing on the
         merits of his case.

 See e.g. In re Telegroup, Inc., 237 B.R. 87, 91 (Bankr. D. N.J. 1999) (applying the three-part

 balancing test to determine whether to lift the automatic stay to allow the litigation to continue);

 In re Leatherman, Case No. 18-24818 (Docket No. 27) (Bankr. D. N.J. Apr. 15, 2019) (same); In

 re F-Squared Inv. Management, LLC, 546 B.R. 538, 548 (Bankr. D. Del. 2016) (applying the three-



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 part test to assess whether the stay should be lifted to allow litigation to continue in another forum);

 In re Scarborough-St. James Corp., 535 B.R. 60, 67-68 (Bankr. D. Del. 2015) (“When a party

 seeks relief from stay to continue with prepetition litigation, this Court generally applies the

 following three prong balancing test: [citing factors]”); In re Stone Res., Inc., 448 B.R. 361, 371

 (Bankr. E.D. Pa. 2011) (applying the three-part test).

         22.     Here, each of the three factors weighs decisively in favor of denying the Lift Stay

 Motion. First, the Debtors and their estates will continue to incur significant costs, delays, and the

 diversion of critical human resources if the stay is lifted and Gerro I continues forward in

 California. The Debtors have been litigating with Gerro for more than two years and have already

 incurred significant legal expenses while defending themselves in Gerro I, Gerro II, and Gerro

 III. Despite the expenses incurred and the time spent, and largely due to Gerro’s serial litigation,

 the Debtors and Gerro are no closer to a resolution of Gerro’s asserted claims now than they were

 when Gerro I was first commenced. If the stay is lifted and Gerro is allowed to continue the

 litigation in California, the Debtors will continue to incur significant expenses and the procedural

 posture of the case guarantees that there will be no resolution of Gerro’s claims for years.

         23.     Second, Gerro will not suffer any relevant hardships if the stay remains in place,

 and Gerro will benefit from a less costly and more streamlined and efficient claims resolution

 process in the Bankruptcy Court. If the stay remains in place, Gerro may liquidate his claims

 against the Debtors through the claims-administration process in the Bankruptcy Court on the same

 terms and under the same procedures as the Debtors’ other general unsecured creditors. A

 resolution of Gerro’s claims may be achieved much more quickly in the Bankruptcy Court than in

 California and at a lower cost for all parties involved, including Gerro. In any event, any hardship

 Gerro may suffer will be much less than the hardship, inconvenience, expense, and uncertainty




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 that will be suffered by the Debtors and their estates if the stay is lifted and Gerro I is allowed to

 continue forward.

         24.      Finally, Gerro is unlikely to succeed on the merits of his underlying claims. As

 discussed previously, the Debtors complied with their obligations and appropriately exercised their

 rights under the Loan Agreement when they liquidated the Collateral to pay down the Loan when

 the LTV requirements were not achieved. It was only after the price of bitcoin rebounded (and

 more than a month after Gerro last communicated with BlockFi at all) that Gerro ultimately

 demanded to have the liquidation of his bitcoin Collateral reversed, which BF Lending had no

 obligation to do. Moreover, in rulings on BF Lending’s demurrer’s in Gerro III, the trial judge in

 two instances has expressed skepticism regarding the validity of certain claims raised by Gerro in

 preliminary findings.7

         25.      In any event, no court, whether in California or Delaware, has yet addressed the

 merits of Gerro’s underlying claims, and therefore, the courts of California or Delaware are in no

 position to render a speedy or efficient judgment on the underlying merits of Gerro’s claim. The

 Bankruptcy Court is best positioned to make an ultimate determination on the merits of Gerro’s

 claims. Indeed, Gerro’s actions to date, filing multiple suits asserting the same or similar claims,

 and pursuing multiple appeals, seem more focused on punishing or harassing the Debtors than

 seeking a resolution of Gerro’s underlying claims.




 7
   See, Gerro v. Shultz, Case No. 21STCP02023, Tentative Decision on Demurrers to Petition for Writ of Mandate
 (Cal. Super. Ct. Nov. 16, 2021); Gerro v. Shultz, Case No. 21STCP02023, Tentative Decision on Demurrers to Petition
 for Writ of Mandate (Cal. Super. Ct. Apr. 21, 2022).


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                     b. Twelve-Factor Sonnax Text

        26.      In addition to the three-part test described above, Courts often consider the

 following twelve factors when determining whether cause exists to lift the stay to allow litigation

 to proceed in a separate forum:

              1) whether relief would result in a partial or complete resolution of the issues;

              2) lack of any connection with or interference with the bankruptcy case;

              3) whether the other proceeding involves the debtor as a fiduciary;

              4) whether a specialized tribunal with the necessary expertise has been established to
                 hear the cause of action;

              5) whether the debtor's insurer has assumed full responsibility for defending it;

              6) whether the action primarily involves third parties;

              7) whether litigation in another forum would prejudice the interests of other
                 creditors;

              8) whether the judgment claim arising from the other action is subject to equitable
                 subordination;

              9) whether the moving party's success in the other proceeding would result in a
                 judicial lien avoidable by the debtor;

              10) the interests of judicial economy and the expeditious and economical resolution of
                  litigation;

              11) whether the parties are ready for trial in the other proceeding; and

              12) impact of the stay on the parties and the balance of the harms.

 See, e.g., Cortuk v. Banco Turco Romana (In re Cortuk), 2019 U.S. Dist. LEXIS 84618, *9 (D.

 N.J. May 20, 2019) (citing Sonnax Indus., Inc., v. Tri Component Prods. Corp. (In re Sonnax

 Indus., Inc.), 907 F.2d 1280 (2d Cir. 1990)); In re Mid-Atlantic, 304 B.R. at 130 (citations omitted);

 Ledgemont Int’l Media Holdings LLC v. Barksdale (In re Barksdale), 2015 Bankr. LEXIS 3865,

 (Bankr. D. N.J. Nov. 10, 2015) (analyzing 12 Sonnax factors to determine whether stay relief was

 appropriate to allow litigation to continue in another forum); In re Patriot Contr. Corp., 2006


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 Bankr. LEXIS 4133, **7-8 (Bankr. D. N.J. May 31, 2006) (citing 12 Sonnax factors as relevant

 factors for determining whether to lift the stay to allow litigation in another forum to continuum).

 Notably, “[a]ll twelve factors are not necessarily present in a particular case, and a court need not

 rely on any plurality of factors in deciding whether to lift the automatic stay.” In re Mid-Atlantic,

 304 B.R. at 130.

        27.      As discussed below, the factors weigh heavily against lifting the automatic stay.

              1) Whether relief would result in a partial or complete resolution of the issues.

                     a. Granting stay relief will not result in a resolution of Gerro’s claims against
                        the Debtors. By lifting the stay, the appeal will be allowed to go forward,
                        but resolution of the appeal will only resolve the forum issue. To date, no
                        discovery or significant motion practice has been completed in Gerro I, as
                        Gerro I was stayed promptly after filing when the California Trial Court
                        granted BlockFi’s motion to stay on the ground of forum non conveniens
                        (only minimal discovery occurred in the related Gerro II action). Indeed,
                        BlockFi has yet to have its pleading challenges to the adequacy of Gerro’s
                        complaint heard. Therefore, resolving the appeal will not resolve any
                        substantive issues on the merits of Gerro’s claims. Rather than lifting the
                        stay and litigating the claims raised in Gerro I in a California or Delaware
                        trial court, Gerro’s claims can be litigated or resolved through the claims
                        administration process in the Bankruptcy Court along with the claims of the
                        Debtors’ other general unsecured creditors.

              2) Lack of any connection with or interference with the bankruptcy case.

                     a. This factor weighs in favor of denying the Lift Stay Motion. Contrary to
                        Gerro’s assertion otherwise, the determination of Gerro’s disputed,
                        contingent, and unliquidated claims against the Debtors is a core proceeding
                        and falls squarely within the Bankruptcy Court’s jurisdiction as a
                        component of the claims administration process. The only other party to the
                        suit is Scratch, in its capacity as BlockFi’s loan servicer for retail loans.
                        Although Scratch is not a debtor, as BlockFi’s loan servicer, and as set forth
                        in more detail below, Scratch may assert indemnity claims against the
                        Debtors with respect to the claims asserted by Gerro in Gerro I.

              3) Whether the other proceeding involves the debtor as a fiduciary.

                     a. This factor weighs in favor of denying the Lift Stay Motion, as BF Lending
                        is being sued on its own behalf and not as a fiduciary. Where a debtor is
                        acting as a fiduciary in litigation, this factor will typically favor lifting the
                        stay. When a debtor is being sued in its own capacity, however, this factor


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                    weighs against the lifting of the automatic stay. See In re Res. Cap., 2012
                    Bankr. LEXIS 3641 at * 19 (“Generally, proceedings in which the debtor is
                    a fiduciary…need not be stayed because they bear no relationship to the
                    purpose of the automatic stay.”) (quoting In re Curtis, 40 B.R. 795, 799
                    (Bankr. Utah 1984)).

         4) Whether a specialized tribunal with the necessary expertise has been established to
            hear the cause of action.

                a. This factor weighs in favor of denying the Lift Stay Motion as no
                   specialized tribunal has been established for litigating the claims asserted in
                   Gerro I. Moreover, the Bankruptcy Court is well situated to address claims
                   of the type asserted in Gerro I.

         5) Whether the debtor's insurer has assumed full responsibility for defending it.

                a. This factor weighs in favor of denying the Lift Stay Motion. The Debtors’
                   insurer has not assumed full responsibility for defending BlockFi in Gerro
                   I and all the other litigation brought by Gerro. To date, the Debtors have
                   expended millions of dollars in attorneys’ fees and related costs defending
                   the claims brought by Gerro. If the Debtors are required to continue
                   litigating Gerro I in the California Supreme Court, and then in whichever
                   jurisdiction the California Supreme Court determines is appropriate, the
                   Debtors are likely to incur similar costs and expenses, and potentially even
                   more. The claims asserted in Gerro I will be resolved much more efficiently
                   and cost-effectively in the Bankruptcy Court.

         6) Whether the action primarily involves third parties.

                a. This factor weighs in favor of denying the Lift Stay Motion. BlockFi is the
                   primary defendant in Gerro I. The only other party besides Gerro is Scratch,
                   BlockFi’s loan servicer. As discussed previously, Scratch may seek to assert
                   indemnification claims against BlockFi for costs, expenses, and any
                   ultimate liability associated with Gerro I. Any indemnification claims
                   Scratch may assert would also be general unsecured claims subject to the
                   Bankruptcy Court’s jurisdiction and the bankruptcy claims administration
                   process.

         7) Whether litigation in another forum would prejudice the interests of other creditors.

                a. This factor weighs in favor of denying the Lift Stay Motion. If the stay is
                   lifted, the Debtors are likely to incur substantially greater costs and
                   expenses than would be incurred if the claims raised in Gerro I are resolved
                   through the bankruptcy claims administration process. As a result,
                   BlockFi’s other creditors and the Debtors’ estates generally will be worse
                   off if the stay is lifted and Gerro is permitted to continue to pursue Gerro I
                   in the California courts.



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         8) Whether the judgment claim arising from the other action is subject to equitable
            subordination.

                a. This factor is not relevant.

         9) Whether the moving party’s success in the other proceeding would result in a
            judicial lien avoidable by the debtor.

                a. This factor is not relevant. Because the claims Gerro is asserting in Gerro I
                   are prepetition general unsecured claims, Gerro will not be able to obtain a
                   judicial lien against the Debtors and, regardless, any such lien would be
                   avoidable pursuant to Bankruptcy Code § 544 and applicable state law.

         10) The interests of judicial economy and the expeditious and economical resolution of
             litigation.

                a. This factor weighs in favor of denying the Lift Stay Motion. For the reasons
                   previously stated, it would be much more efficient and expeditious to
                   resolve Gerro’s claims in the Bankruptcy Court rather than to lift the stay to
                   liquidate those claims in the California or Delaware Courts. Moreover, it
                   will be much more economical to adjudicate the claims asserted in Gerro I
                   in the Bankruptcy Court. The bankruptcy process provides the most
                   efficient centralized forum for resolving all claims against the Debtors.

         11) Whether the parties are ready for trial in the other proceeding.

                a. This factor weighs in favor of denying the Lift Stay Motion. To date, no
                   discovery or significant motion practice has been completed in Gerro I, as
                   Gerro I was stayed promptly after filing when the California Trial Court
                   granted BF Lending’s FNC Motion. Therefore, resolving the appeal will not
                   resolve any substantive issues on the merits of Gerro’s claims. If the stay is
                   lifted, a trial on the merits of the claims asserted in Gerro I will not proceed
                   for several years. Gerro’s claims can be litigated or resolved much more
                   expeditiously and efficiently through the claims administration process in
                   the Bankruptcy Court along with the claims of the Debtors’ other general
                   unsecured creditors. It is simply not efficient or economical to allow
                   litigation related to alleged unsecured claims to proceed in another forum
                   where the litigation has not progressed beyond appeals related to venue.

         12) Impact of the stay on the parties and the balance of the harms.

                a. This factor weighs in favor of denying the Lift Stay Motion. All parties,
                   including Gerro, will be best served by having the claims asserted in Gerro
                   I adjudicated by the Bankruptcy Court through the claims administration
                   process. Gerro’s claims are against the Debtors and Gerro can assert those
                   claims in the Bankruptcy Court like all of the Debtors’ other general
                   unsecured creditors. Moreover, those claims can be resolved much more



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                          quickly in the Bankruptcy Court and likely at a lower cost which will inure
                          to the benefit of Gerro, the Debtors, and the Debtors’ estates.

        28.      An analysis of each of the twelve factors makes clear that cause does not exist to

 grant the Stay Motion to allow Gerro to continue pursuing the claims asserted in Gerro I in the

 California or Delaware courts. It is contrary to judicial economy, general efficiency, and fairness

 to the Debtors, their estates, and their other general unsecured creditors to have Gerro’s claims

 adjudicated in California or Delaware instead of by the Bankruptcy Court.

        29.      For the reasons stated above, the Court should deny Gerro’s request to have the

 automatic stay lifted.

              B. Gerro’s Request for Relief from the Discharge Injunction Must Be Denied

        30.      If the stay is not lifted, Gerro’s request for relief from the discharge injunction will

 be moot as Gerro will be able to assert his claims in the Bankruptcy Case.

        31.      Even if the stay is lifted, Gerro’s request for relief from the discharge injunction is

 premature as the Debtors have not yet sought approval of a disclosure statement, much less

 requested confirmation of a plan.

        32.      Gerro’s request for relief from the discharge injunction should therefore be denied

 without prejudice to allow Gerro to request appropriate relief at such time as the Debtors have

 requested the imposition of a discharge injunction in connection with a plan.

              C. Gerro’s Request to Extend the Time to File a Proof of Claim Should Be
                 Denied

        33.      Gerro has requested an extension of his deadline to file a proof of claim under

 Bankruptcy Rule 3003(c)(3) until such time as a final judgment has been entered in Gerro I.

 Gerro’s request for such an extension highlights one of many reasons why the Court should deny

 Gerro’s request for stay relief. For the reasons stated previously, if the automatic stay is lifted it

 will likely be several years before the claims asserted in Gerro I can be liquidated. Specifically, it


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 will likely be two years before the California Supreme Court enters a ruling on the California Trial

 Court’s decision to stay Gerro I for forum non conveniens. Only once the California Supreme

 Court has ruled would the parties be in a position to move forward with litigating the underlying

 merits of the claims raised in Gerro I, either in California or Delaware. Because Gerro I was stayed

 by the California Trial Court before significant motion practice or discovery had taken place, it

 could be another year (and likely more) before a final decision on the merits is reached in a

 California or Delaware Court. In other words, if Gerro’s request to extend the bar date is granted,

 Gerro is unlikely to file a claim for several years, by which time the Debtors cases could

 conceivably be closed.

           34.   On the other hand, if the Lift Stay Motion is denied, Gerro will be entitled to have

 his claims resolved in the claims administration process along with the claims of the Debtors’

 thousands of other creditors.

           35.   For the reasons stated above, Gerro’s request to extend the bar date should be

 denied.

           WHEREFORE, the Debtors respectfully request entry of an order denying the Lift Stay

 Motion and granting the Debtors such other and further relief as the Court may deem just and

 appropriate.

                             [Remainder of page intentionally left blank]




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                                               Respectfully Submitted,

  Dated: December 30, 2022                     /s/ Michael D. Sirota

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